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 9                        IN THE UNITED STATES DISTRICT COURT
10                                   DISTRICT OF ARIZONA
11
     United States of America,
12                                                            CR-23-08132-PCT-JJT
                    Plaintiff,
13
            vs.                                       NOTICE OF SUPPLEMENTAL
14                                                    AUTHORITY IN SUPPORT OF
     Donald Day, Jr.,                              DEFENDANT’S SECOND MOTION TO
15                                                         DISMISS (Dkt 41).
                    Defendant.
16
            Defendant Donald Day, Jr., through undersigned counsel, respectfully provides the
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     Court notice of the Ninth Circuit’s recent decision in United States v. Duarte, No. 22-
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     50048 (attached as Ex. 1), issued on May 9, 2024.
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            In Duarte, the Ninth Circuit concluded that 18 U.S.C. § 922(g)(1) violates the
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     Second Amendment as applied to Mr. Duarte, an individual convicted of five prior
21
     felonies.
22
            Duarte is the latest in a series of decisions to recognize that § 922(g)(1) is
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     unconstitutional, either on its face or as applied to specific defendants. See, e.g., Range
24
     v. Att’y Gen., 69 F.4th 96 (3d Cir. 2023) (en banc); United States v. Bullock, __ F. Supp.
25
     3d __, No. 3:18-cr-165, 2023 WL 4232309 (S.D. Miss. June 28, 2023); United States v.
26
     Neal, __ F. Supp. 3d __, No. 20-CR-335 (N.D. Ill. Feb. 7, 2024); United States v.
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 1
     Prince, __ F. Supp. 3d __, No. 22-CR-240 (N.D. Ill. Nov. 2, 2023); Williams v.

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     Garland, __ F. Supp. 3d __, No. 17-cv-2641 (E.D. Pa. Nov. 14, 2023); United States v.
     Williams, __ F. Supp. 3d __, No. 23-cr-20201 (E.D. Mich. Feb. 22, 2024); United States
 3
     v. Harper, __ F. Supp. 3d __, No. 21-cr-0236 (M.D. Pa. Sep. 1, 2023); United States v.
 4
     Hostettler, __ F. Supp. 3d __, No. 23-cr-00654 (N.D. Oh. Apr. 10, 2024); United States
 5
     v. Jacobs, __ F. Supp. 3d __, No. 23-cr-79 (N.D. W. Va. Apr. 18, 2024); United States
 6
     v. Jones, __ F. Supp. 3d __, No. 23-cr-74 (S.D. Miss. Jan. 8, 2024); United States v.
 7
     LeBlanc, __ F. Supp. 3d __, No. 23-cr-00045 (M.D. La. Dec. 19, 2023); United States v.
 8
     Quailes, __ F. Supp. 3d __, No. 21-cr-0176 (M.D. Pa. Aug. 22, 2023); United States v.
 9
     Raphael Williams, __ F. Supp. 3d __, No. 23-cr-20199 (E.D. Mich. Apr. 30, 2024);
10
     United States v. Taylor, __ F. Supp. 3d __, No. 23-cr-40001 (S.D. Ill. Jan. 22, 2024);
11
     United States v. Forbis, __ F. Supp. 3d __, No. 23-cr-133 (N.D. Okla. Aug. 17, 2023);
12
     United States v. Griffin, __ F. Supp. 3d __, No. 21-cr-00693 (N.D. Ill. Nov. 30, 2023);
13
     see also Linton v. Bonta, __ F. Supp. 3d __, No. 18-cv-07653 (N.D. Cal. Feb. 28, 2024)
14
     (striking down similar state ban).
15
            Unlike those other decisions, however, Duarte is controlling authority here.
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            In its decision, the Ninth Circuit recognized—as Mr. Day has argued, see Reply at
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     2-3 (Dkt. 55)—that the Supreme Court’s decision in Bruen abrogated prior Circuit
18
     precedent, United States v. Vongxay, upholding § 922(g)(1). See Opinion at 8-22. Duarte
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     likewise recognized that the Second Amendment’s plain language encompasses the
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     conduct at issue here—an individual (even one convicted of prior felonies) possessing
21
     firearms for purposes of self-defense. See Opinion at 22-33. And Duarte rejected the
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     claim that, given Mr. Duarte’s prior felony convictions, a categorical, lifetime ban on the
23
     possession of firearms worked by § 922(g)(1) is supported by a “distinctly similar”
24
     historical analogue. See Opinion at 35-63.
25
            Duarte therefore compels the dismissal of Count 3. In this case, Mr. Day is accused
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     of possessing guns and ammunition, at his home, for purposes of self-defense. The
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 1
     government alleges Mr. Day has prior felony convictions—the most recent of which is

 2
     34 years old. But in the decades since, Mr. Day has had no subsequent arrests or
     convictions. The government has not offered a “distinctly similar” historical analogue to
 3
     justify the lifetime ban on the possession of firearms it seeks to enforce here.
 4
            Accordingly, Court 3 should be dismissed.
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 6
            Respectfully submitted:      May 17, 2024.
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 8                                       JON M. SANDS
                                         Federal Public Defender
 9
10                                       /s/ Mark Rumold
                                         Mark Rumold
11                                       Asst. Federal Public Defender
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